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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ROBERT F. KENNEDY HUMAN
 RIGHTS; SOUTHERN BORDER
 COMMUNITIES COALITION;
 URBAN JUSTICE CENTER,

            Plaintiffs,                      Civil Action No. 25-1270-ACR

              v.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, in her
 official capacity as Secretary of
 Homeland Security,

            Defendants.


             PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs Robert F. Kennedy Human

Rights, Southern Border Communities Coalition, and Urban Justice Center hereby move for a

preliminary injunction to restrain and enjoin Defendants from terminating the functions of the

Department of Homeland Security Office for Civil Rights and Civil Liberties (CRCL), Office of

the Citizenship and Immigration Services Ombudsman (CISOM), and Office of the Immigration

Detention Ombudsman (OIDO), by (1) placing virtually all employees of these three offices on

administrative leave and ordering that they stop performing any work tasks; (2) eliminating 99%

(4 out of approximately 400) staff positions from the three offices via a reduction in force, leaving

insufficient staff to carry out statutory mandates; (3) destroying any data or records subject to the

Federal Records Act, except in accordance with the procedures described in 44 U.S.C. Chapter 33;

or (4) taking any other steps that hinder CRCL’s, CISOM’s, and OIDO’s ability to perform their

statutory responsibilities. Plaintiffs further seek an order (1) reinstating all employees of CRCL,
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CISOM and OIDO who were placed on administrative leave on March 21, 2025 until final

judgment is entered in this action, unless Defendants deem reinstatement to be inappropriate for a

particular employee based on an individualized, performance- or conduct-based reason; (2)

resuming all complaint processing and other statutorily required tasks that were suspended with

the work stoppage on March 21, 2025; (3) reinstating, until final judgment is entered in this action,

any contractors whose contracts were terminated or who were ordered to stop working on projects

for CRCL, CISOM, or OIDO on or after March 21, 2025; and (4) restoring to the websites of

CRCL, CISOM and OIDO any reports, memoranda, or other documents that have been removed

from those websites during 2025.

       As set forth in more detail in the accompanying memorandum, Defendants have taken steps

that make it impossible for CRCL, CISOM and OIDO to perform the functions assigned to them

by statute. Defendants ordered all employees of these three offices to stop work completely on

March 21, 2025 and have prohibited them from contacting community partners or individuals with

pending complaints. Defendants have also initiated a reduction in force that would permanently

remove 99% of the employees from these three offices by May 23, 2025. These actions are ultra

vires, contrary to specific statutory requirements, and arbitrary and capricious. They also violate

the Impoundment Control Act and Anti-Deficiency Act. Absent preliminary relief, Plaintiff

Robert F. Kennedy Human Rights (RFK), plaintiff Southern Border Communities Coalition

(SBCC) and its members, and Plaintiff Urban Justice Center (UJC) will experience irreparable

harm as a result of Defendants’ actions.

       This motion is based on the attached memorandum of law, the attached declarations and

exhibits, and all other pleadings and papers filed in this action, oral argument of counsel, and any

other matters that may come before the Court.



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       At approximately 5:34 PM on Wednesday, May 7, undersigned counsel emailed the

Director and Deputy Director of the Federal Programs Branch of DOJ, along with the Chief of the

Civil Division of the U.S. Attorney’s Office in Washington, D.C. to notify them of Plaintiffs’

intent to file this motion and to propose a briefing schedule. At the time of filing, Defendants’

counsel have not yet responded. Undersigned counsel subsequently emailed the same three

individuals copies of all the documents being filed with the Court


Dated: May 8, 2025                                  Respectfully submitted,

                                                    /s/ Karla Gilbride

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